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                                  UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF MAINE

LUC JOHN GAGNON,                                    )
                                                    )
                 Plaintiff                          )
                                                    )                 Civil No. 1:16-cv-24-NT
vs.                                                 )
                                                    )
CORRECT CARE SOLUTIONS,                             )
et al.                                              )
          Defendants                                )

           MOTION TO DISMISS AND INCORPORATED MEMORANDUM OF
                        DEFENDANT AMANDA SEIRUP

         NOW COMES Defendant Amanda Seirup, Ph.D. by and through their undersigned

counsel, Thompson & Bowie, LLP, and move pursuant to Rule 12(b)(1) of the Maine Rules of

Civil Procedure, to dismiss Plaintiff’s claim on the ground that he has failed to comply with the

mandatory pre-litigation requirements set forth in the Maine Health Security Act, 24 M.R.S. §§

2851-2859.1 As support for the motion, CCS relies upon the pleadings filed to date, and the

memorandum of law incorporated herein.

I.       FACTUAL BACKGROUND

         Amanda Seirup, Ph.D. is an employee of CCS, the medical, dental and mental health

services provider contracted by the Maine Department of Corrections (MeDOC). Plaintiff is an

inmate currently in the custody of MeDOC currently incarcerated at the Maine State Prison

(MSP). In his Complaint (Document 1), Plaintiff alleges that he is suing Dr. Seirup as a result of

alleged failures in mental health treatment. (Document 1-3 at 1-2) Plaintiff’s Complaint appears




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  A defendant’s affirmative defense regarding a plaintiff’s failure to comply with the notice and pre-litigation
screening provisions of the Maine Health Security Act is “analogous to a defense predicated on insufficient service
of process or lack of subject matter jurisdiction.” Dutil v. Burns, 1997 ME 1, ¶ 5, 687 A.2d 639; see also M.R. Civ.
P. 12(b)(1).

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grounded in alleged failures of MSP mental health staff in failing to secure medication to treat

alleged psychological symptoms in December 2015.

       Because Plaintiff has not complied with the mandatory pre-litigation provisions necessary

to bringing a professional negligence against CCS and its employees, this Court lacks

jurisdiction over Plaintiff’s claim. As a result, Plaintiff’s Complaint against CCS should be

dismissed.

II.    ARGUMENT OF LAW

       Pursuant to Maine law, a plaintiff cannot pursue a professional negligence claim against a

health care provider unless he complies with certain provisions of the Maine Health Security Act

(“MSHA”). See 24 M.R.S. § 2903(1). To that end, even before a party may even commence “an

action for professional negligence” against a “health care provider,” he or she must serve a

written notice of claim on the opposing party, file the notice of claim in the Superior Court, and

present his or her claim to a mandatory pre-litigation screening panel. 24 M.R.S. §§ 2853, 2854,

2903(1); see Hill v. Kwan, 2009 ME 4, ¶¶ 7-8, 962 A.2d 963.

       The Act broadly defines a “health care provider” to include “any hospital, clinic, nursing

home or other facility in which skilled nursing care or medical services are prescribed by or

performed under the general direction of persons licensed to practice medicine . . . in this State”

24 M.R.S. § 2502(2). Likewise, the Law Court has broadly interpreted what an “action for

professional negligence” encompasses, instructing that the MHSA is to apply to “any case that

could implicate medical malpractice insurance.” Saunders v. Tisher, 2006 ME 94, ¶¶ 13, 15, 902

A.2d 830 (interpreting 24 M.R.S. § 2502(6)). As set forth by the MSHA, an “action for

professional negligence” means:

       (1) ‘any action for damages for injury or death’; (2) ‘against any health care
       provider, its agents or employees . . . ’; (3) ‘whether based upon tort or breach of

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        contract or otherwise’; (4) ‘arising out of the provision or failure to provide health
        care services.’

D.S. v. Spurwink Servs., Inc., 2013 ME 31, ¶ 20, 65 A.3d 1196 (quoting 24 M.R.S. § 2502(6)).2

        In this case, the MHSA pre-suit requirements apply to Plaintiff’s action. At the outset,

Dr. Seirup, as a mental health professional at MSP, undoubtedly qualifies as a “health care

provider” under the Act. See 24 M.R.S. § 2502(2); see also Demmons v. Tritch, 2007 WL

777541, * 1 (D. Me. Mar. 1, 2007 aff’d 484 F. Supp.2d 177, 179 (D. Me. 2007) (applying MHSA

to prison health care providers at the MCC); Dutil v. Burns, 674 A.2d 910, 910-911 (Me. 1996)

(concluding that MHSA applies to malpractice claims against dentists arising out their

purportedly inadequate services). Based on Plaintiff’s allegations alone, his cause of action

against Dr. Seirup is certainly a claim for professional negligence, D.S., 2013 ME 31, ¶ 20, 65

A.3d 1196, and as such, falls squarely within the “ambit of the . . . all-encompassing MHSA.”

See Saunders v. Tisher, 2006 ME 94, ¶ 9, 902 A.2d 830; see also 24 M.R.S. § 2502(1-A), (2).

        However, fatal to Plaintiff’s claim at this juncture is the fact that he has neither complied

with—nor alleged compliance with—the mandatory pre-suit requirements set forth in the

MHSA. Moreover, it is not alleged whether Plaintiff has remitted the statutorily-required filing

fee required to submit his claim to a panel for mandatory pre-litigation screening. Id. §§ 2853,

2854, 2903(1). It is well-established under the MHSA that “[t]he failure to do so constitutes a

bar to a civil action . . . against the provider.” Kidder v. Richmond Area Health Center, Inc., 595

F. Supp. 2d 139, 142 (D. Me. 2009) (citations omitted); Demmons, 2007 WL 777541 at * 1 aff’d

484 F. Supp.2d 177, 179 (D. Me. 2007). Even if Plaintiff has established a valid MHSA claim,

this Court would not have jurisdiction in the absence of an active state court action.

2
  The all-inclusive nature of the MSHA is further evidenced by its inclusion of the terms “or otherwise” in the
definition of “action for professional negligence.” 24 M.R.S. § 2502(6). This open-ended language has led the Law
Court to conclude that the Legislature clearly intended the MHSA to “fully occupy the field of claims brought
against health care providers.” Dutil v. Burns, 674 A.2d 910, 911 (Me. 1996).

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       Because Plaintiff has not complied with the provisions of the MHSA, the Court should

determine that this Complaint, for alleged failures in mental health treatment as provided by

Maine law is premature at this time, and dismiss those claims without prejudice. Id.


Dated at Portland, Maine this 19th day of February, 2016.


                                             /s/ Michael E. Saucier
                                             Michael E. Saucier, Esq.
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                              CERTIFICATE OF SERVICE


      I hereby certify that on February 19, 2016, I electronically filed Motion to Dismiss and

Incorporated Memorandum of Defendant Amanda Seirup, Ph.D. with the Clerk of Court using

the CM/ECF system.


      A copy was deposited on this date, via U.S. Mail, to:

                            Lu John Gagnon
                            807 Cushing Road
                            Warren, Maine 04864



                                           /s/ Michael E. Saucier
                                           Michael E. Saucier, Esq.
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